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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SHANADOLYN JOHNSON                  §
AND BRIAN A. BREWER - TRUSTEE §
                                    §
v.                                  §     CIVIL ACTION NO. 4:18-CV-02184
                                    §
WILMINGTON SAVINGS FUND             §
SOCIETY, FSB                        §
______________________________________________________________________________

            AGREED STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

       Pursuant to the Federal Rules of Civil Procedure, Plaintiffs Shanadolyn Johnson and Brian

A. Brewer - Trustee hereby stipulate and agree to the following:

       1.      Plaintiffs filed their Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 55th Judicial Court of Harris County, Texas on April 02, 2018.

       2.      Defendant filed its Notice of Removal on April 24, 2018.

       3.      Plaintiffs no longer desire to pursue their courses of action against Defendant.

       4.      Accordingly, Plaintiffs request that the Court dismiss this lawsuit with prejudice

against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs hereto request that the Court enter

the attached Order dismissing the above-entitled and numbered cause with prejudice with costs of

court being assessed against the party incurring same.
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                                              Respectfully submitted,

                                                     VILT AND ASSOCIATES, P.C.

                                              By:   /s/ Robert C. Vilt
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                                              ATTORNEYS FOR PLAINTIFFS


                              CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was held on the merits of this motion on October 4,
       2018 with Michael F. Hord, Jr. and he agrees to the relief sought herein.

                                              /s/ Robert C. Vilt
                                              ROBERT C. VILT


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant Federal Rules of Civil Procedure on this the 4th day of October, 2018.

       Michael F. Hord, Jr.
       Hirsch & Westheimer, P.C.
       1415 Louisiana, 36th Floor
       Houston, TX 77002




                                              /s/ Robert C. Vilt
                                              ROBERT C. VILT
